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                                                                            Telephone: (212) 446-2300
                                                                           Email: smariella@bsfllp.com

                                              April 14, 2020

VIA ECF
The Honorable Esther Salas
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

       Re:     Kyle-Labell v. Selective Service System et al., Case No. 15-cv-5193-ES-JAD

Dear Judge Salas,

        We write on behalf of Plaintiff Elizabeth Kyle-Labell in response to
letter dated April 3, 2020. ECF No. 125. For the following reasons, the                 letter is
both improper and irrelevant to                      class certification, ECF No. 115, currently
pending.

                           letter purports                                    report by the National
Commission on Military, National, and Public Service                    , but, in reality, amounts to
an improper sur-reply
ECF No. 117. Both the Local Rules of this District and this            individual rules prohibit sur-
                                            See Local Rule 7.1(d)(6); General Pretrial and Trial
                         No sur-replies are permitted without permission. They are strongly
discouraged unless it is apparent on the face of the submission that such additional briefing is
necessary to rebut an issue or point of law not discussed in the initial briefs.    This sur-reply is
both procedurally and substantively improper: First, the Government did not request or obtain
permission from this Court to file a sur-reply. Second, the arguments contained in its letter were
already addressed in                                                                    rendering any
additional briefing unnecessary.

        Even if the letter were proper, however, the arguments raised therein are irrelevant to the
class certification issue currently before the Court. First, the Government contends that a
nonbinding R                                                                            class-wide
injunctive relief is inconsistent with the separation of powers. ECF No. 125 at 1. But the Court
has already rejected this argument when denying th                   Motion to Dismiss, holding

                                     Kyle-Labell v. Selective Serv. Sys., 364 F. Supp. 3d 394, 407

                                                                                           ). The
Government cannot relitigate the separation of powers issue now, after the Court has already ruled
                                                                                              . In
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any event, the parties addressed this argument, in full, in the class certification briefing. ECF No.
116 at 13 16; ECF No. 117 at 2 4.

        Second, the Government contends that the Report supports an argument that it previously
made in its brief opposing class certification that Plaintiff is not an adequate class representative
because some people think that women should not be required to register for a draft. ECF No. 125
at 1 2; see also ECF No. 226 at 26 33. But, as Plaintiff argued in her briefing in support of class
certification, because Plaintiff is seeking certification of a Rule 23(b)(2) class, whether some class
members oppose injunctive relief has no bearing on whether Plaintiff is an adequate class
representative. See ECF No. 117 at 10 16.

        C
has acted or refused to act on grounds that apply generally to the class, so that final injunctive
                                                                                           Fed. R.
Civ. P. 23(b)(2). Here, the Government prohibits all women, because of their sex, from registering
for the draft, thus acting in a uniform manner toward the entire class and causing the same injury
to each proposed class member. Class certification under Rule 23(b)(2) is therefore appropriate.



                                               Respectfully submitted,



                                               /s/ Sabina Mariella

                                               Sabina Mariella, Esq.

cc: Counsel of Record (via ECF)
